                        UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION
In re:

Lisa Renee Lattman,                                         Case No.: 17-45915
                                                            Chapter 7
      Debtor.                                               Hon. Mark A. Randon
____________________________/

Suburban Mobility Authority for Regional
Transportation (“SMART”),

         Plaintiff,

v.                                                          Adversary Proceeding
                                                            Case No.: 17-04686
Lisa Renee Lattman,

         Defendant.
                                      /

         OPINION AND ORDER DENYING DEBTOR’S MOTION TO DISMISS

I.       INTRODUCTION

         Before filing bankruptcy, Debtor sued Suburban Mobility Authority for Regional

Transportation (“SMART”). Debtor claimed to have suffered neck, back, and shoulder

injuries while aboard a SMART bus involved in an accident; SMART argued that Debtor

did not–and could not have–suffered those injuries.

         After a trial, the jury returned a verdict of “No Cause of Action.” SMART

received a $150,000.00 judgment against Debtor for case evaluation sanctions; it

collected $30,109.80 before Debtor filed Chapter 7 bankruptcy.

         SMART seeks a determination that the debt is nondischargeable, because it arose

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from fraud. But despite its best efforts, SMART’s adversary proceeding was untimely.

Debtor has moved to dismiss; the Court heard argument on December 4, 2017.

       Because Federal Rule of Bankruptcy Procedure 4007(c)’s deadline to challenge

dischargeability is not jurisdictional–and given the circumstances that prevented a timely

filing–the Court: (1) exercises its authority under section 105(a) of the Bankruptcy Code

to equitably toll the deadline; and (2) allows SMART’s adversary proceeding to

continue–notwithstanding the general order of discharge that remains in place for all other

creditors. Debtor’s motion to dismiss is DENIED.

II.    PROCEDURAL HISTORY

       Debtor filed bankruptcy on April 19, 2017; the 341 Meeting of Creditors was set

for May 25, 2017. Under Rule 4007(c), the deadline for filing a complaint to determine

the dischargeability of a debt was July 24, 2017–60 days after the first date set for the

meeting of creditors. However, before July 24, 2017, Debtor and the Chapter 7 Trustee

agreed to an extension–by stipulation and order–to August 7, 2017.

       On July 24, 2017, SMART filed a complaint in Debtor’s main bankruptcy case

seeking a ruling that the debt is nondischargeable. The Court struck the complaint

because it was not filed as an adversary proceeding.

       SMART corrected its error and filed an adversary proceeding on July 25,

2017–one day after the original deadline–but well before the August 7, 2017, extension.1



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        This adversary proceeding was assigned case number 17-04536.

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SMART’s counsel represented to the Court that: (1) the complaint was mailed to Debtor

at the River Rouge address listed on her bankruptcy papers; (2) its process server

unsuccessfully attempted to serve Debtor at the River Rouge address but was informed

that she had moved approximately four months earlier;2 and (3) its process server

unsuccessfully attempted to serve Debtor at an address in Wyandotte.3 Because service

was not made within seven days after the summons was issued, the Court dismissed the

adversary proceeding on August 15, 2017.4 Debtor simultaneously received her

discharge; the case was closed on August 18, 2017.

       On August 25, 2017, SMART filed a motion to reopen Debtor’s bankruptcy case.

The Court granted the motion and gave SMART until November 9, 2017, to file an

adversary proceeding.5 It did so on September 26, 2017.

III.   APPLICABLE LAW AND ANALYSIS

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         Fed. R. Bank. P. 4002(a)(5) requires debtors to “file a statement of any change of .
. . address.” To date, Debtor has not updated her address.
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         Attached to SMART’s response are two Affidavits of Non-Service signed by the
process server. The first Affidavit indicates that he attempted to serve Debtor at the
Wyandotte address on July 27, 2017; July 28, 2017; August 3, 2017; and August 4, 2017.
The second Affidavit indicates that he attempted to serve Debtor at the River Rouge
address on July 27, 2017, but “spoke with Ashley Mears who stated that she moved[]
about four months ago and that [Debtor] was the previous resident.” (Dkt. No. 23, Ex. 3).
Debtor’s counsel did not contest the representations to the Court regarding SMART’s
efforts to serve Debtor.

       Counsel indicated at the hearing that he did not believe it was appropriate to file a
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proof of service knowing Debtor no longer resided at the River Rouge address.
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        In granting SMART’s motion to reopen, the Court preserved Debtor’s ability to
file a motion to dismiss based on untimeliness.

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       Rule 4007(c) sets a 60-day deadline to file a complaint challenging the

dischargeability of a debt:

       a complaint to determine the dischargeability of a debt under §523(c) shall
       be filed no later than 60 days after the first date set for the meeting of
       creditors under §341(a) . . . . On motion of a party in interest, after hearing
       on notice, the court may for cause extend the time fixed under this
       subdivision. The motion shall be filed before the time has expired.

Absent an extension, the deadline for SMART to file a complaint was July 24, 2017. But

a stipulation and order was entered, extending the deadline to August 7, 2017. Debtor’s

motion raises two issues for the Court to decide: (1) did the stipulation extending the

deadline apply to SMART?; and (2) should equitable tolling apply to permit SMART’s

otherwise untimely complaint?

       A.     The Deadline Extension Applied to SMART

       Debtor argues that because the stipulation extending the deadline was made with

the Chapter 7 Trustee, it did not apply to SMART. This meant SMART was still required

to file its complaint by the original July 24, 2017, deadline (which it missed by one day).

The Court disagrees. The stipulation provides, in pertinent part:

                                        *      *      *

       3.     That the deadline to file a complaint objecting to the discharge of the
              Debtor(s) under 11 U.S.C. §727 or to determine the dischargeability
              of certain debts under 11 U.S.C. §523 is extended until August 7,
              2017.

(Dkt. No. 13). Trustees are prohibited from filing complaints under section 523. Brady v.

McAllister (In re Brady), 101 F.3d 1165, 1169-70 (6th Cir. 1996); see also Rule 4007(a)


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(“[a] debtor or any creditor may file a complaint to obtain a determination of the

dischargeability of any debt.”) (Emphasis added). Therefore, the part of the stipulation

extending the deadline under section 523 applied to all creditors. See In re Brady, 101

F.3d at 1170 (“a Chapter 7 bankruptcy trustee has standing under Rule 4007(c) to move

for an extension of time on behalf of creditors to file nondischargeability complaints”).

       B.     The Circumstances Justify the Application of Equitable Tolling

       Although SMART filed its complaint before the extended deadline for taking

action under Rule 4007(c), its complaint was dismissed for lack of service. This

dismissal would, ordinarily, prohibit SMART from filing another timely complaint after

the August 7, 2017, deadline. See Federal Rule of Bankruptcy Procedure 9006(a)(3)

(“[t]he court may enlarge the time for taking action under Rule[] . . . 4007(c) . . . only to

the extent and under the condition stated in [that] rule[]”). However, the Sixth Circuit has

held that the time limits in Rule 4007(c) are not jurisdictional, and the Court has

discretion to use its equitable powers under section 105(a) to allow an otherwise untimely

complaint. Nardei v. Maughan (In re Maughan), 340 F.3d 337, 341-44 (6th Cir. 2003);

see also In re Doyne, 520 B.R. 566, 570 (B.A.P. 6th Cir. 2014) (finding the bankruptcy

court “applied the correct legal standard . . . (i.e. treating the relevant deadline as non-

jurisdictional and subject to equitable tolling”)).

       The Court considers five factors in determining whether to equitably toll a

deadline: “(1) lack of actual notice of filing requirement; (2) lack of constructive

knowledge of filing requirement; (3) diligence in pursuing one’s rights; (4) absence of

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prejudice to the defendant; and (5) a plaintiff’s reasonableness in remaining ignorant of

the notice requirement.” In re Maughan, 340 F.3d at 344 (quotation omitted).6 SMART

does not allege that it was unaware of the filing deadline; therefore the Court’s inquiry

focuses on “the diligence used by [SMART] in pursuing its rights and the resulting

prejudice, if any, to the defendant.” Id. (quoting First Bank Sys. v. Begue (In re Begue),

176 B.R. 801, 804 (Bankr. N.D. Ohio 1995)).

       After considering these factors, the Court equitably tolls the deadline. SMART

was diligent in pursuing its rights–only ten days elapsed between the dismissal of

SMART’s complaint and its motion to reopen. This was not an unreasonable delay. And,

SMART’s inability to serve its timely-filed complaint was caused by Debtor’s failure to

update her address and possible evasion of service. Finally, allowing SMART to proceed

will not prejudice Debtor: her discharge remains in place as to all other creditors, and she

will have an opportunity to defend SMART’s complaint.

       The fact that Debtor already received her discharge order is of no moment.

Section 105 allows the Court to “issue any order, process, or judgment that is necessary

or appropriate to carry out the provisions of this title.” 11 U.S.C. § 105(a). The Court



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         There is some question regarding whether the United States Supreme Court
overruled the five-factor analysis when it held that “[g]enerally, a litigant seeking
equitable tolling bears the burden of establishing two elements: (1) that he has been
pursuing his rights diligently, and (2) that some extraordinary circumstance stood in his
way.” Pace v. DiGuglielmo, 544 U.S. 408, 418 (2005). Here, the outcome is the same
whether one looks to In re Maughan or DiGuglielmo: SMART diligently pursued its
rights, but Debtor’s actions impeded a timely filing.

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allows SMART’s complaint to proceed and will determine whether this debt, only, will be

excepted from Debtor’s discharge.

IV.   CONCLUSION

      Extraordinary circumstances justify the application of equitable tolling. Debtor’s

motion to dismiss is DENIED.

      IT IS ORDERED.




Signed on December 08, 2017




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